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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF ARKANSAS

Case number (if known)        5:17-bk-73105                                   Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Larry                                                           Ladonna
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        J                                                               F
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Matlock                                                         Matlock
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years                                                                      Donna Matlock
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-6096                                                     xxx-xx-5665
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Larry J Matlock
Debtor 2   Ladonna F Matlock                                                                          Case number (if known)     5:17-bk-73105




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 1225 E Lake Rd
                                 Springdale, AR 72762
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Washington
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Larry J Matlock
Debtor 2    Ladonna F Matlock                                                                             Case number (if known)    5:17-bk-73105


Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Larry J Matlock
Debtor 2    Ladonna F Matlock                                                                              Case number (if known)   5:17-bk-73105


Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Larry J Matlock
Debtor 2    Ladonna F Matlock                                                                          Case number (if known)     5:17-bk-73105

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Larry J Matlock
Debtor 2    Ladonna F Matlock                                                                             Case number (if known)      5:17-bk-73105

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                    More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Larry J Matlock                                               /s/ Ladonna F Matlock
                                 Larry J Matlock                                                   Ladonna F Matlock
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     January 2, 2018                                   Executed on     January 2, 2018
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Larry J Matlock
Debtor 2   Ladonna F Matlock                                                                              Case number (if known)   5:17-bk-73105




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Todd F. Hertzberg                                              Date         January 2, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Todd F. Hertzberg 2008268
                                Printed name

                                Hertzberg Law Firm of Arkansas, P.A.
                                Firm name

                                4285 N. Shiloh Dr.,
                                Suite 108
                                Fayetteville, AR 72703
                                Number, Street, City, State & ZIP Code

                                Contact phone     479-422-7775                               Email address         toddhertzberg@yahoo.com
                                2008268
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                   Larry J Matlock
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Ladonna F Matlock
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  WESTERN DISTRICT OF ARKANSAS

 Case number           5:17-bk-73105
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             341,500.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              39,345.24

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             380,845.24

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,542,766.08

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $             213,131.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          2,266,231.00


                                                                                                                                     Your total liabilities $             4,022,128.08


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                2,562.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                4,427.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to

 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
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 Debtor 1      Larry J Matlock
 Debtor 2      Ladonna F Matlock                                                          Case number (if known) 5:17-bk-73105
             the court with your other schedules.

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            213,131.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            213,131.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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               5:17-bk-73105 Doc#: 11 Filed: 01/02/18 Entered: 01/02/18 11:41:46 Page 10 of 98
 Fill in this information to identify your case and this filing:

 Debtor 1                    Larry J Matlock
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Ladonna F Matlock
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      WESTERN DISTRICT OF ARKANSAS

 Case number            5:17-bk-73105                                                                                                                            Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1225 E Lake Rd                                                                 Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Springdale                        AR        72762-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $315,300.00                $315,300.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Washington                                                                     Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Homestead: Tract A: A part of the SW 1/4 of the SE 1/4 of Section 30,
                                                                                Township 18N, Range 30W, . . .containing 1.00 acres, more or less, Elm
                                                                                Springs, Washington County,Arkansas




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
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 Debtor 1         Larry J Matlock
 Debtor 2         Ladonna F Matlock                                                                                             Case number (if known)          5:17-bk-73105

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        1225 E Lake Rd                                                                Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the           Current value of the
        Springdale                        AR        72762-0000                        Land                                            entire property?               portion you own?
        City                              State              ZIP Code                 Investment property                                      $26,200.00                     $26,200.00
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only                                   Fee simple
        Washington                                                                    Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             Additional Contiguous Homestead Land: Tract C: A part of the SW 1/4 of
                                                                             the SE 1/4 of Section 30, Township 18N, Range 30W . . . containing 2.12
                                                                             acres, more or less, Elm Springs, Washington County Arkansas.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                              $341,500.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         Honda                                           Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Accord                                             Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2017                                               Debtor 2 only
                                                                                                                                       Current value of the          Current value of the
          Approximate mileage:                               309           Debtor 1 and Debtor 2 only                                  entire property?              portion you own?
          Other information:                                               At least one of the debtors and another
         VIN: 1HGCR2F36HA280997
         Location: 1225 E Lake Rd,                                         Check if this is community property                                 $20,698.00                     $20,698.00
         Springdale AR 72762                                               (see instructions)




  3.2     Make:         Hyundai                                         Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Santa Fe                                           Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2013                                               Debtor 2 only
                                                                                                                                       Current value of the          Current value of the
          Approximate mileage:                       58,133                Debtor 1 and Debtor 2 only                                  entire property?              portion you own?
          Other information:                                               At least one of the debtors and another
         VIN: 5XYZU3LB0DG003572
         (hail damage)                                                     Check if this is community property                                 $15,292.00                     $15,292.00
         Location: 1225 E Lake Rd,                                         (see instructions)

         Springdale AR 72762




Official Form 106A/B                                                             Schedule A/B: Property                                                                                page 2
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 Debtor 1       Larry J Matlock
 Debtor 2       Ladonna F Matlock                                                                                   Case number (if known)      5:17-bk-73105

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

      No
      Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>             $35,990.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                 Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured
                                                                                                                                                   claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Washer, Dryer, Washer/Dryer Combo (non-working apartment
                                    size), Stove, Refrigerators(2), Microwave, Dishwasher, Sofas(3),
                                    Loveseat, Tables(10), Chairs(28), Desks(2), Bookcases(6), Bed,
                                    Dressers(2), Chests(2), Lamps(4), Grill, Patio Sets(2), Push Mower,
                                    Weedeater, Bedding & Linens, Misc. Kitchenware, Misc.
                                    Household Tools, Misc. Garden Tools, filing cabinets and shelving
                                    Location: 1225 E Lake Rd, Springdale AR 72762                                                                               $1,300.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    TVs(2), DVD Players(2), Computers(2), Game System, Printer, Cell
                                    Phones/Personal Electronics(2)
                                    Location: 1225 E Lake Rd, Springdale AR 72762                                                                                 $150.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Books, DVDs, CDs, Knick Knacks, Pictures, Some Precious
                                    Moments Figurines
                                    Location: 1225 E Lake Rd, Springdale AR 72762                                                                                 $100.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Cameras(2), Camcorder
                                    Location: 1225 E Lake Rd, Springdale AR 72762                                                                                 $100.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                         page 3
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 Debtor 1         Larry J Matlock
 Debtor 2         Ladonna F Matlock                                                                                           Case number (if known)   5:17-bk-73105

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                            Shotguns(2), Handgun, Rifle
                                            Location: 1225 E Lake Rd, Springdale AR 72762                                                                                $200.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Shirts, Pants, Jeans, Ties, Belts, Shorts, Skirts, Dresses, Robes,
                                            Jackets, Coats, Gloves, Shoes
                                            Location: 1225 E Lake Rd, Springdale AR 72762                                                                                $100.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Necklaces, Rings, Earrings
                                            Location: 1225 E Lake Rd, Springdale AR 72762                                                                                $100.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            Dog
                                            Location: 1225 E Lake Rd, Springdale AR 72762                                                                                    $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                             $2,050.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                              Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash
                                                                                                                                 Location:
                                                                                                                                 1225 E Lake
                                                                                                                                 Rd,
                                                                                                                                 Springdale
                                                                                                                                 AR 72762                                  $84.00

Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 4
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 Debtor 2         Ladonna F Matlock                                                                              Case number (if known)    5:17-bk-73105


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
        No
        Yes........................                                            Institution name:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                    Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                               Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                             Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                               Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
Official Form 106A/B                                                    Schedule A/B: Property                                                                   page 5
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 Debtor 1        Larry J Matlock
 Debtor 2        Ladonna F Matlock                                                                                               Case number (if known)        5:17-bk-73105


28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                 Surrender or refund
                                                                                                                                                                   value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
        Yes. Describe each claim.........

                                                          Potential Personal Injury Suit to be filed as a result of injuries
                                                          sustained in auto accident.                                                                                          Unknown


                                                          Right to receive garnishment return from Discover Bank
                                                          pursuant to 11 U.S.C. 522(i)-(h). Ongoing payroll garnishment
                                                          from Pay Period Sep. 1, 2017 - Present.                                                                              $1,221.24


35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................               $1,305.24


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.


Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 6
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 Debtor 1         Larry J Matlock
 Debtor 2         Ladonna F Matlock                                                                                                     Case number (if known)   5:17-bk-73105


 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $341,500.00
 56. Part 2: Total vehicles, line 5                                                                           $35,990.00
 57. Part 3: Total personal and household items, line 15                                                       $2,050.00
 58. Part 4: Total financial assets, line 36                                                                   $1,305.24
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $39,345.24              Copy personal property total            $39,345.24

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $380,845.24




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 7
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 Fill in this information to identify your case:

 Debtor 1                 Larry J Matlock
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Ladonna F Matlock
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF ARKANSAS

 Case number           5:17-bk-73105
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      1225 E Lake Rd Springdale, AR 72762                            $315,300.00                               $83,000.00      Ark. Const. Art. 9 §§ 3 and 5
      Washington County
      Homestead: Tract A: A part of the                                                    100% of fair market value, up to
      SW 1/4 of the SE 1/4 of Section 30,                                                  any applicable statutory limit
      Township 18N, Range 30W, . .
      .containing 1.00 acres, more or less,
      Elm Springs, Washington
      County,Arkansas
      Line from Schedule A/B: 1.1

      Shirts, Pants, Jeans, Ties, Belts,                                  $100.00                                  $100.00     Ark. Const. Art. 9 § 2
      Shorts, Skirts, Dresses, Robes,
      Jackets, Coats, Gloves, Shoes                                                        100% of fair market value, up to
      Location: 1225 E Lake Rd, Springdale                                                 any applicable statutory limit
      AR 72762
      Line from Schedule A/B: 11.1

      Right to receive garnishment return                              $1,221.24                                 $1,000.00     Ark. Const. Art. 9 § 2
      from Discover Bank pursuant to 11
      U.S.C. 522(i)-(h). Ongoing payroll                                                   100% of fair market value, up to
      garnishment from Pay Period Sep. 1,                                                  any applicable statutory limit
      2017 - Present.
      Line from Schedule A/B: 34.2




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Larry J Matlock
 Debtor 2    Ladonna F Matlock                                                                  Case number (if known)    5:17-bk-73105
 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                            page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Larry J Matlock
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Ladonna F Matlock
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF ARKANSAS

 Case number           5:17-bk-73105
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Ally                                     Describe the property that secures the claim:                 $15,528.00               $15,292.00               $236.00
         Creditor's Name                          2013 Hyundai Santa Fe 58,133 miles
                                                  VIN: 5XYZU3LB0DG003572 (hail
                                                  damage)
                                                  Location: 1225 E Lake Rd,
                                                  Springdale AR 72762
                                                  As of the date you file, the claim is: Check all that
         PO Box 380902                            apply.
         Minneapolis, MN 55438                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Title Lien on Vehicle
       community debt

 Date debt was incurred                                    Last 4 digits of account number        5332

         American Honda Finance
 2.2                                                                                                            $16,671.00               $20,698.00                     $0.00
         Corp                                     Describe the property that secures the claim:
         Creditor's Name                          2017 Honda Accord 309 miles
                                                  VIN: 1HGCR2F36HA280997
         National Bankruptcy                      Location: 1225 E Lake Rd,
         Center                                   Springdale AR 72762
                                                  As of the date you file, the claim is: Check all that
         PO Box 168088                            apply.
         Irving, TX 75016                             Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 17
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 Debtor 1 Larry J Matlock                                                                                     Case number (if know)   5:17-bk-73105
               First Name                  Middle Name                      Last Name
 Debtor 2 Ladonna F Matlock
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)   Title Lien on Vehicle
       community debt

 Date debt was incurred                                      Last 4 digits of account number         7845

         AR Dept of Finance &
 2.3                                                                                                                  $4,027.00         $20,698.00              $0.00
         Admin                                      Describe the property that secures the claim:
         Creditor's Name                            2017 Honda Accord 309 miles
                                                    VIN: 1HGCR2F36HA280997
                                                    Location: 1225 E Lake Rd,
                                                    Springdale AR 72762
                                                    As of the date you file, the claim is: Check all that
         PO Box 3493                                apply.
         Little Rock, AR 72203                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   State Tax Lien $16,517.29, 2004
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         AR Dept of Finance &
 2.4                                                                                                                  $1,300.00          $1,300.00              $0.00
         Admin                                      Describe the property that secures the claim:
         Creditor's Name                            Washer, Dryer, Washer/Dryer
                                                    Combo (non-working apartment
                                                    size), Stove, Refrigerators(2),
                                                    Microwave, Dishwasher, Sofas(3),
                                                    Loveseat, Tables(10), Chairs(28),
                                                    Desks(2), Bookcases(6), Bed,
                                                    Dressers(2), Chests(2), Lamps(4),
                                                    Grill, Patio Sets(2),
                                                    As of the date you file, the claim is: Check all that
         PO Box 3493                                apply.
         Little Rock, AR 72203                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   State Tax Lien $16,517.29, 2004
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         AR Dept of Finance &
 2.5                                                                                                                    $150.00            $150.00              $0.00
         Admin                                      Describe the property that secures the claim:




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 Debtor 1 Larry J Matlock                                                                                     Case number (if know)   5:17-bk-73105
               First Name                  Middle Name                      Last Name
 Debtor 2 Ladonna F Matlock
               First Name                  Middle Name                      Last Name


         Creditor's Name                            TVs(2), DVD Players(2),
                                                    Computers(2), Game System,
                                                    Printer, Cell Phones/Personal
                                                    Electronics(2)
                                                    Location: 1225 E Lake Rd,
                                                    Springdale AR 72762
                                                    As of the date you file, the claim is: Check all that
         PO Box 3493                                apply.
         Little Rock, AR 72203                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   State Tax Lien $16,517.29, 2004
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         AR Dept of Finance &
 2.6                                                                                                                    $100.00            $100.00              $0.00
         Admin                                      Describe the property that secures the claim:
         Creditor's Name                            Books, DVDs, CDs, Knick Knacks,
                                                    Pictures, Some Precious Moments
                                                    Figurines
                                                    Location: 1225 E Lake Rd,
                                                    Springdale AR 72762
                                                    As of the date you file, the claim is: Check all that
         PO Box 3493                                apply.
         Little Rock, AR 72203                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   State Tax Lien $16,517.29, 2004
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         AR Dept of Finance &
 2.7                                                Describe the property that secures the claim:                       $100.00            $100.00              $0.00
         Admin
         Creditor's Name                            Cameras(2), Camcorder
                                                    Location: 1225 E Lake Rd,
                                                    Springdale AR 72762
                                                    As of the date you file, the claim is: Check all that
         PO Box 3493                                apply.
         Little Rock, AR 72203                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit


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 Debtor 1 Larry J Matlock                                                                                     Case number (if know)   5:17-bk-73105
               First Name                  Middle Name                      Last Name
 Debtor 2 Ladonna F Matlock
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)   State Tax Lien $16,517.29, 2004
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         AR Dept of Finance &
 2.8                                                Describe the property that secures the claim:                       $200.00            $200.00              $0.00
         Admin
         Creditor's Name                            Shotguns(2), Handgun, Rifle
                                                    Location: 1225 E Lake Rd,
                                                    Springdale AR 72762
                                                    As of the date you file, the claim is: Check all that
         PO Box 3493                                apply.
         Little Rock, AR 72203                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   State Tax Lien $16,517.29, 2004
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         AR Dept of Finance &
 2.9                                                                                                                    $100.00            $100.00              $0.00
         Admin                                      Describe the property that secures the claim:
         Creditor's Name                            Shirts, Pants, Jeans, Ties, Belts,
                                                    Shorts, Skirts, Dresses, Robes,
                                                    Jackets, Coats, Gloves, Shoes
                                                    Location: 1225 E Lake Rd,
                                                    Springdale AR 72762
                                                    As of the date you file, the claim is: Check all that
         PO Box 3493                                apply.
         Little Rock, AR 72203                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   State Tax Lien $16,517.29, 2004
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1     AR Dept of Finance &
 0       Admin                                      Describe the property that secures the claim:                       $100.00            $100.00              $0.00
         Creditor's Name                            Necklaces, Rings, Earrings
                                                    Location: 1225 E Lake Rd,
                                                    Springdale AR 72762
                                                    As of the date you file, the claim is: Check all that
         PO Box 3493                                apply.
         Little Rock, AR 72203                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.



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 Debtor 1 Larry J Matlock                                                                                     Case number (if know)   5:17-bk-73105
               First Name                  Middle Name                      Last Name
 Debtor 2 Ladonna F Matlock
               First Name                  Middle Name                      Last Name



    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   State Tax Lien $16,517.29, 2004
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1     AR Dept of Finance &
 1       Admin                                      Describe the property that secures the claim:                        $84.00             $84.00              $0.00
         Creditor's Name                            Cash
                                                    Location: 1225 E Lake Rd,
                                                    Springdale AR 72762
                                                    As of the date you file, the claim is: Check all that
         PO Box 3493                                apply.
         Little Rock, AR 72203                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   State Tax Lien $16,517.29, 2004
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1     AR Dept of Finance &
 2       Admin                                      Describe the property that secures the claim:                   $16,517.29         $315,300.00              $0.00
         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Homestead: Tract A: A part of the
                                                    SW 1/4 of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W, . .
                                                    .containing 1.00 acres, more or less,
                                                    Elm Springs, Washington
                                                    County,Arkansas
                                                    As of the date you file, the claim is: Check all that
         PO Box 3493                                apply.
         Little Rock, AR 72203                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   State Tax Lien $16,517.29, 2004
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1     AR Dept of Finance &
 3       Admin                                      Describe the property that secures the claim:                   $16,517.29          $26,200.00              $0.00




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 Debtor 1 Larry J Matlock                                                                                     Case number (if know)   5:17-bk-73105
               First Name                  Middle Name                      Last Name
 Debtor 2 Ladonna F Matlock
               First Name                  Middle Name                      Last Name


         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Additional Contiguous Homestead
                                                    Land: Tract C: A part of the SW 1/4
                                                    of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W . . .
                                                    containing 2.12 acres, more or less,
                                                    Elm Springs, Washin
                                                    As of the date you file, the claim is: Check all that
         PO Box 3493                                apply.
         Little Rock, AR 72203                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   State Tax Lien $16,517.29, 2004
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1
 4       Bank of America                            Describe the property that secures the claim:                   $61,407.00         $315,300.00              $0.00
         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Homestead: Tract A: A part of the
                                                    SW 1/4 of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W, . .
                                                    .containing 1.00 acres, more or less,
                                                    Elm Springs, Washington
                                                    County,Arkansas
                                                    As of the date you file, the claim is: Check all that
         PO Box 26249                               apply.
         Tampa, FL 33625                                 Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Home Equity Loan
       community debt

 Date debt was incurred                                      Last 4 digits of account number         4099

 2.1
 5       Discover Bank                              Describe the property that secures the claim:                   $23,065.00         $315,300.00        Unknown




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 Debtor 1 Larry J Matlock                                                                                     Case number (if know)   5:17-bk-73105
               First Name                  Middle Name                      Last Name
 Debtor 2 Ladonna F Matlock
               First Name                  Middle Name                      Last Name


         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Homestead: Tract A: A part of the
                                                    SW 1/4 of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W, . .
                                                    .containing 1.00 acres, more or less,
                                                    Elm Springs, Washington
                                                    County,Arkansas
                                                    As of the date you file, the claim is: Check all that
         PO Box 30943                               apply.
         Salt Lake City, UT 84130                        Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          11/1/10                     Last 4 digits of account number         6902

 2.1
 6       Discover Bank                              Describe the property that secures the claim:                   $23,065.00          $26,200.00        Unknown
         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Additional Contiguous Homestead
                                                    Land: Tract C: A part of the SW 1/4
                                                    of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W . . .
                                                    containing 2.12 acres, more or less,
                                                    Elm Springs, Washin
                                                    As of the date you file, the claim is: Check all that
         PO Box 30943                               apply.
         Salt Lake City, UT 84130                        Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1     First National Bank of
 7       Rogers                                     Describe the property that secures the claim:                  $228,090.00         $315,300.00        Unknown




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 Debtor 1 Larry J Matlock                                                                                     Case number (if know)   5:17-bk-73105
               First Name                  Middle Name                      Last Name
 Debtor 2 Ladonna F Matlock
               First Name                  Middle Name                      Last Name


         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Homestead: Tract A: A part of the
                                                    SW 1/4 of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W, . .
                                                    .containing 1.00 acres, more or less,
                                                    Elm Springs, Washington
                                                    County,Arkansas
                                                    As of the date you file, the claim is: Check all that
         3706 Pinnacle Hills Pkwy                   apply.
         Rogers, AR 72758                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          7/21/09                     Last 4 digits of account number


 2.1     First National Bank of
 8       Rogers                                     Describe the property that secures the claim:                  $228,090.00          $26,200.00        Unknown
         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Additional Contiguous Homestead
                                                    Land: Tract C: A part of the SW 1/4
                                                    of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W . . .
                                                    containing 2.12 acres, more or less,
                                                    Elm Springs, Washin
                                                    As of the date you file, the claim is: Check all that
         3706 Pinnacle Hills Pkwy                   apply.
         Rogers, AR 72758                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1
 9       Internal Revenue Service                   Describe the property that secures the claim:                  $188,751.75         $315,300.00              $0.00




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 Debtor 1 Larry J Matlock                                                                                     Case number (if know)   5:17-bk-73105
               First Name                  Middle Name                      Last Name
 Debtor 2 Ladonna F Matlock
               First Name                  Middle Name                      Last Name


         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Homestead: Tract A: A part of the
                                                    SW 1/4 of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W, . .
                                                    .containing 1.00 acres, more or less,
                                                    Elm Springs, Washington
                                                    County,Arkansas
                                                    As of the date you file, the claim is: Check all that
         PO Box 7346                                apply.
         Philadelphia, PA 19101                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Federal Tax Lien $188,751.75 2004, 2005, 2007
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.2
 0       Internal Revenue Service                   Describe the property that secures the claim:                  $188,751.75          $26,200.00              $0.00
         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Additional Contiguous Homestead
                                                    Land: Tract C: A part of the SW 1/4
                                                    of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W . . .
                                                    containing 2.12 acres, more or less,
                                                    Elm Springs, Washin
                                                    As of the date you file, the claim is: Check all that
         PO Box 7346                                apply.
         Philadelphia, PA 19101                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Federal Tax Lien $188,751.75, 2004, 2005, 2007
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.2
 1       Internal Revenue Service                   Describe the property that secures the claim:                     $4,027.00         $20,698.00              $0.00
         Creditor's Name                            2017 Honda Accord 309 miles
                                                    VIN: 1HGCR2F36HA280997
                                                    Location: 1225 E Lake Rd,
                                                    Springdale AR 72762
                                                    As of the date you file, the claim is: Check all that
         PO Box 7346                                apply.
         Philadelphia, PA 19101                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.

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 Debtor 1 Larry J Matlock                                                                                     Case number (if know)   5:17-bk-73105
               First Name                  Middle Name                      Last Name
 Debtor 2 Ladonna F Matlock
               First Name                  Middle Name                      Last Name



    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Federal Tax Lien $188,751.75 2004, 2005, 2007
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.2
 2       Internal Revenue Service                   Describe the property that secures the claim:                     $1,300.00          $1,300.00              $0.00
         Creditor's Name                            Washer, Dryer, Washer/Dryer
                                                    Combo (non-working apartment
                                                    size), Stove, Refrigerators(2),
                                                    Microwave, Dishwasher, Sofas(3),
                                                    Loveseat, Tables(10), Chairs(28),
                                                    Desks(2), Bookcases(6), Bed,
                                                    Dressers(2), Chests(2), Lamps(4),
                                                    Grill, Patio Sets(2),
                                                    As of the date you file, the claim is: Check all that
         PO Box 7346                                apply.
         Philadelphia, PA 19101                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Federal Tax Lien $188,751.75 2004, 2005, 2007
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.2
 3       Internal Revenue Service                   Describe the property that secures the claim:                       $150.00            $150.00              $0.00
         Creditor's Name                            TVs(2), DVD Players(2),
                                                    Computers(2), Game System,
                                                    Printer, Cell Phones/Personal
                                                    Electronics(2)
                                                    Location: 1225 E Lake Rd,
                                                    Springdale AR 72762
                                                    As of the date you file, the claim is: Check all that
         PO Box 7346                                apply.
         Philadelphia, PA 19101                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Federal Tax Lien $188,751.75 2004, 2005, 2007
       community debt

 Date debt was incurred                                      Last 4 digits of account number




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 Debtor 1 Larry J Matlock                                                                                     Case number (if know)   5:17-bk-73105
               First Name                  Middle Name                      Last Name
 Debtor 2 Ladonna F Matlock
               First Name                  Middle Name                      Last Name


 2.2
 4       Internal Revenue Service                   Describe the property that secures the claim:                       $100.00            $100.00              $0.00
         Creditor's Name                            Books, DVDs, CDs, Knick Knacks,
                                                    Pictures, Some Precious Moments
                                                    Figurines
                                                    Location: 1225 E Lake Rd,
                                                    Springdale AR 72762
                                                    As of the date you file, the claim is: Check all that
         PO Box 7346                                apply.
         Philadelphia, PA 19101                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Federal Tax Lien $188,751.75 2004, 2005, 2007
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.2
 5       Internal Revenue Service                   Describe the property that secures the claim:                       $100.00            $100.00              $0.00
         Creditor's Name                            Cameras(2), Camcorder
                                                    Location: 1225 E Lake Rd,
                                                    Springdale AR 72762
                                                    As of the date you file, the claim is: Check all that
         PO Box 7346                                apply.
         Philadelphia, PA 19101                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Federal Tax Lien $188,751.75 2004, 2005, 2007
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.2
 6       Internal Revenue Service                   Describe the property that secures the claim:                       $200.00            $200.00              $0.00
         Creditor's Name                            Shotguns(2), Handgun, Rifle
                                                    Location: 1225 E Lake Rd,
                                                    Springdale AR 72762
                                                    As of the date you file, the claim is: Check all that
         PO Box 7346                                apply.
         Philadelphia, PA 19101                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 11 of 17
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 Debtor 1 Larry J Matlock                                                                                     Case number (if know)   5:17-bk-73105
               First Name                  Middle Name                      Last Name
 Debtor 2 Ladonna F Matlock
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)   Federal Tax Lien $188,751.75 2004, 2005, 2007
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.2
 7       Internal Revenue Service                   Describe the property that secures the claim:                       $100.00            $100.00              $0.00
         Creditor's Name                            Shirts, Pants, Jeans, Ties, Belts,
                                                    Shorts, Skirts, Dresses, Robes,
                                                    Jackets, Coats, Gloves, Shoes
                                                    Location: 1225 E Lake Rd,
                                                    Springdale AR 72762
                                                    As of the date you file, the claim is: Check all that
         PO Box 7346                                apply.
         Philadelphia, PA 19101                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Federal Tax Lien $188,751.75 2004, 2005, 2007
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.2
 8       Internal Revenue Service                   Describe the property that secures the claim:                       $100.00            $100.00              $0.00
         Creditor's Name                            Necklaces, Rings, Earrings
                                                    Location: 1225 E Lake Rd,
                                                    Springdale AR 72762
                                                    As of the date you file, the claim is: Check all that
         PO Box 7346                                apply.
         Philadelphia, PA 19101                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Federal Tax Lien $188,751.75 2004, 2005, 2007
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.2
 9       Internal Revenue Service                   Describe the property that secures the claim:                        $84.00             $84.00              $0.00
         Creditor's Name                            Cash
                                                    Location: 1225 E Lake Rd,
                                                    Springdale AR 72762
                                                    As of the date you file, the claim is: Check all that
         PO Box 7346                                apply.
         Philadelphia, PA 19101                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.



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 Debtor 1 Larry J Matlock                                                                                     Case number (if know)   5:17-bk-73105
               First Name                  Middle Name                      Last Name
 Debtor 2 Ladonna F Matlock
               First Name                  Middle Name                      Last Name



    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Federal Tax Lien $188,751.75 2004, 2005, 2007
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.3
 0       Liberty Bank of Arkansas                   Describe the property that secures the claim:                  $111,396.00         $315,300.00        Unknown
         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Homestead: Tract A: A part of the
                                                    SW 1/4 of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W, . .
                                                    .containing 1.00 acres, more or less,
                                                    Elm Springs, Washington
         Now Centennial Bank                        County,Arkansas
                                                    As of the date you file, the claim is: Check all that
         PO Box 966                                 apply.
         Conway, AR 72033                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          10/22/09                    Last 4 digits of account number         3122

 2.3
 1       Liberty Bank of Arkansas                   Describe the property that secures the claim:                  $111,396.00          $26,200.00        Unknown
         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Additional Contiguous Homestead
                                                    Land: Tract C: A part of the SW 1/4
                                                    of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W . . .
                                                    containing 2.12 acres, more or less,
         Now Centennial Bank                        Elm Springs, Washin
                                                    As of the date you file, the claim is: Check all that
         PO Box 966                                 apply.
         Conway, AR 72033                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


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 Debtor 1 Larry J Matlock                                                                                     Case number (if know)   5:17-bk-73105
               First Name                  Middle Name                      Last Name
 Debtor 2 Ladonna F Matlock
               First Name                  Middle Name                      Last Name




 2.3
 2       Mr. Cooper/Nationstar                      Describe the property that secures the claim:                  $172,856.00         $315,300.00              $0.00
         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Homestead: Tract A: A part of the
                                                    SW 1/4 of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W, . .
                                                    .containing 1.00 acres, more or less,
                                                    Elm Springs, Washington
                                                    County,Arkansas
                                                    As of the date you file, the claim is: Check all that
         PO Box 619094                              apply.
         Dallas, TX 75261                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Mortgage
       community debt

 Date debt was incurred                                      Last 4 digits of account number         8584

 2.3
 3       National Home Centers                      Describe the property that secures the claim:                   $23,913.00         $315,300.00        Unknown
         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Homestead: Tract A: A part of the
                                                    SW 1/4 of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W, . .
                                                    .containing 1.00 acres, more or less,
         c/o Donnie Rutledge                        Elm Springs, Washington
         Lisle law Firm                             County,Arkansas
                                                    As of the date you file, the claim is: Check all that
         1458 Plaza Pl, Ste 101                     apply.
         Springdale, AR 72764                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.3
 4       National Home Centers                      Describe the property that secures the claim:                   $23,913.00          $26,200.00        Unknown




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 Debtor 1 Larry J Matlock                                                                                     Case number (if know)   5:17-bk-73105
               First Name                  Middle Name                      Last Name
 Debtor 2 Ladonna F Matlock
               First Name                  Middle Name                      Last Name


         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Additional Contiguous Homestead
                                                    Land: Tract C: A part of the SW 1/4
                                                    of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W . . .
         c/o Donnie Rutledge                        containing 2.12 acres, more or less,
         Lisle law Firm                             Elm Springs, Washin
                                                    As of the date you file, the claim is: Check all that
         1458 Plaza Pl, Ste 101                     apply.
         Springdale, AR 72764                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.3
 5       Pinnacle Finance                           Describe the property that secures the claim:                   $36,425.00         $315,300.00        Unknown
         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Homestead: Tract A: A part of the
                                                    SW 1/4 of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W, . .
                                                    .containing 1.00 acres, more or less,
                                                    Elm Springs, Washington
                                                    County,Arkansas
                                                    As of the date you file, the claim is: Check all that
         9915 E Bell Rd, Ste 120                    apply.
         Scottsdale, AZ 85260                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.3
 6       Pinnacle Finance                           Describe the property that secures the claim:                   $36,425.00          $26,200.00        Unknown




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 15 of 17
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 Debtor 1 Larry J Matlock                                                                                     Case number (if know)   5:17-bk-73105
               First Name                  Middle Name                      Last Name
 Debtor 2 Ladonna F Matlock
               First Name                  Middle Name                      Last Name


         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Additional Contiguous Homestead
                                                    Land: Tract C: A part of the SW 1/4
                                                    of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W . . .
                                                    containing 2.12 acres, more or less,
                                                    Elm Springs, Washin
                                                    As of the date you file, the claim is: Check all that
         9915 E Bell Rd, Ste 120                    apply.
         Scottsdale, AZ 85260                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.3
 7       Precision Recovery                         Describe the property that secures the claim:                     $3,833.00        $315,300.00        Unknown
         Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                    72762 Washington County
                                                    Homestead: Tract A: A part of the
                                                    SW 1/4 of the SE 1/4 of Section 30,
                                                    Township 18N, Range 30W, . .
                                                    .containing 1.00 acres, more or less,
         c/o The McHughes Law                       Elm Springs, Washington
         Firm                                       County,Arkansas
                                                    As of the date you file, the claim is: Check all that
         PO Box 2180                                apply.
         Little Rock, AR 72201                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          1/8/13                      Last 4 digits of account number


 2.3
 8       Precision Recovery                         Describe the property that secures the claim:                     $3,833.00         $26,200.00        Unknown




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 16 of 17
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 Debtor 1 Larry J Matlock                                                                                   Case number (if know)         5:17-bk-73105
              First Name                 Middle Name                      Last Name
 Debtor 2 Ladonna F Matlock
              First Name                 Middle Name                      Last Name


       Creditor's Name                            1225 E Lake Rd Springdale, AR
                                                  72762 Washington County
                                                  Additional Contiguous Homestead
                                                  Land: Tract C: A part of the SW 1/4
                                                  of the SE 1/4 of Section 30,
                                                  Township 18N, Range 30W . . .
       c/o The McHughes Law                       containing 2.12 acres, more or less,
       Firm                                       Elm Springs, Washin
                                                  As of the date you file, the claim is: Check all that
       PO Box 2180                                apply.
       Little Rock, AR 72201                           Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)

    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred                                    Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                               $1,542,766.08
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                              $1,542,766.08

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.17
        First National Bank of Rogers
        c/o G. Nicholas Arnold                                                                      Last 4 digits of account number
        224 S 2nd St
        Rogers, AR 72756

        Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.30
        Liberty Bank of Arkansas
        c/o Williams Law Firm                                                                       Last 4 digits of account number
        100 W Main St
        Gentry, AR 72734




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                   page 17 of 17
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 Fill in this information to identify your case:

 Debtor 1                     Larry J Matlock
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Ladonna F Matlock
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                WESTERN DISTRICT OF ARKANSAS

 Case number           5:17-bk-73105
 (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
 2.1          AR Dept of Finance & Admin                             Last 4 digits of account number                        $16,517.00        $16,517.00                    $0.00
              Priority Creditor's Name
              PO Box 3493                                            When was the debt incurred?
              Little Rock, AR 72203
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                         2004 Income Taxes Owed

 2.2          Internal Revenue Service                               Last 4 digits of account number                        $25,253.00        $25,253.00                    $0.00
              Priority Creditor's Name
              PO Box 7346                                            When was the debt incurred?
              Philadelphia, PA 19101
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Federal Income Taxes Owed 2004

Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 33
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 Debtor 1 Larry J Matlock
 Debtor 2 Ladonna F Matlock                                                                                  Case number (if know)           5:17-bk-73105

 2.3        Internal Revenue Service                                 Last 4 digits of account number                         $9,510.00              $9,510.00                    $0.00
            Priority Creditor's Name
            PO Box 7346                                              When was the debt incurred?
            Philadelphia, PA 19101
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          Federal Income Taxes Owed 2007

                                                                                                                            $161,851.0
 2.4        Internal Revenue Service                                 Last 4 digits of account number                                 0           $161,851.00                     $0.00
            Priority Creditor's Name
            PO Box 7346                                              When was the debt incurred?
            Philadelphia, PA 19101
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          Federal Income Taxes Owed 2005

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




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 Debtor 2 Ladonna F Matlock                                                                               Case number (if know)         5:17-bk-73105

 4.1      Abacus CPAs (fka Dunton)                                   Last 4 digits of account number                                                      $13,617.00
          Nonpriority Creditor's Name
          1835 Republic Rd, Ste 200                                  When was the debt incurred?
          Springfield, MO 65804
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal Tax Services


 4.2      Abacus CPAs (fka Dunton)                                   Last 4 digits of account number                                                        $4,474.00
          Nonpriority Creditor's Name
          1835 Republic Rd, Ste 200                                  When was the debt incurred?
          Springfield, MO 65804
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Current Business Tax Services


 4.3      Abacus CPAs (fka Dunton)                                   Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          1835 Republic Rd, Ste 200                                  When was the debt incurred?
          Springfield, MO 65804
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Old Business Tax Services




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 Debtor 2 Ladonna F Matlock                                                                               Case number (if know)         5:17-bk-73105

 4.4      Advance Pest Control                                       Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          PO Box 1884                                                When was the debt incurred?
          Springdale, AR 72765
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Services Provided for Carpenter
              Yes                                                       Other. Specify   Construction


 4.5      Advanced Dermatology                                       Last 4 digits of account number                                                            $15.00
          Nonpriority Creditor's Name
          1444 E Stearns, Ste 11                                     When was the debt incurred?
          Fayetteville, AR 72703
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.6      Air Control Corp                                           Last 4 digits of account number                                                          $989.00
          Nonpriority Creditor's Name
          2114 Dime Dr                                               When was the debt incurred?
          Springdale, AR 72764
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Services Provided for Carpenter
              Yes                                                       Other. Specify   Construction




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 4.7      AJ Discount Storage                                        Last 4 digits of account number       138                                              $1,000.00
          Nonpriority Creditor's Name
          4206 Elm Springs Rd                                        When was the debt incurred?
          Springdale, AR 72762
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Services Purchased under CME Quality
              Yes                                                       Other. Specify   Homes


 4.8      American Express                                           Last 4 digits of account number       1002                                           $31,330.00
          Nonpriority Creditor's Name
          PO Box 981535                                              When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card Purchases


 4.9      American Express                                           Last 4 digits of account number       1007                                             $8,128.00
          Nonpriority Creditor's Name
          PO Box 981535                                              When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business Purchase Account - Credit Card
              Yes                                                       Other. Specify   Purchases




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 4.1
 0        American Express                                           Last 4 digits of account number       1007                                           $10,100.00
          Nonpriority Creditor's Name
          PO Box 981535                                              When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business Management Acct - Credit Card
              Yes                                                       Other. Specify   Purchases


 4.1
 1        AOL Member Services                                        Last 4 digits of account number       7053                                                 $15.00
          Nonpriority Creditor's Name
          PO Box 65110                                               When was the debt incurred?
          Sterling, VA 20165
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services Purchased


 4.1
 2        APAC Arkansas                                              Last 4 digits of account number                                                      $20,000.00
          Nonpriority Creditor's Name
          Arkhola Div                                                When was the debt incurred?
          PO Box 1627
          Fort Smith, AR 72902
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Services Provided for Carpenter
              Yes                                                       Other. Specify   Construction




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 4.1
 3        APAC Arkansas                                              Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          McClinton Anchor Div                                       When was the debt incurred?
          PO Box 1367
          Fayetteville, AR 72702
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Services Provided for Carpenter
              Yes                                                       Other. Specify   Construction


 4.1
 4        Arkansas Insulation                                        Last 4 digits of account number                                                      $12,275.00
          Nonpriority Creditor's Name
          PO Box 582                                                 When was the debt incurred?
          Springdale, AR 72765
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Former Vendor for CME Quality Homes


 4.1
 5        Bank of America                                            Last 4 digits of account number       9604                                           $40,365.00
          Nonpriority Creditor's Name
          PO Box 15026                                               When was the debt incurred?
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card Purchases




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 Debtor 2 Ladonna F Matlock                                                                               Case number (if know)         5:17-bk-73105

 4.1
 6        Bank of America                                            Last 4 digits of account number       7016                                           $12,585.00
          Nonpriority Creditor's Name
          PO Box 15026                                               When was the debt incurred?
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card Purchases


 4.1
 7        Bank of America                                            Last 4 digits of account number                                                        $2,650.00
          Nonpriority Creditor's Name
          PO Box 1570                                                When was the debt incurred?
          Wilmington, DE 19886
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unknown


 4.1
 8        Bank of America                                            Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          PO Box 15220                                               When was the debt incurred?
          Wilmington, DE 19886
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business Account for CME Oil & Gas,
              Yes                                                       Other. Specify   Overdrafts




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 4.1
 9        Bank of the Ozarks                                         Last 4 digits of account number       8415                                               $249.00
          Nonpriority Creditor's Name
          PO Box 196                                                 When was the debt incurred?
          Ozark, AR 72949
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Overdrafts


 4.2
 0        Boral Bricks                                               Last 4 digits of account number                                                        $5,285.00
          Nonpriority Creditor's Name
          320 N Bloomington, St A                                    When was the debt incurred?
          Lowell, AR 72745
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Former Vendor for Carpenter Construction


 4.2
 1        Bradco Supply                                              Last 4 digits of account number                                                        $6,593.00
          Nonpriority Creditor's Name
          418 S Bloomington St                                       When was the debt incurred?
          Lowell, AR 72745
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Former Vendor for Carpenter Construction




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 4.2
 2        Capital One                                                Last 4 digits of account number       6814                                           $15,000.00
          Nonpriority Creditor's Name
          PO Box 30285                                               When was the debt incurred?
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card Purchases


 4.2
 3        Carpenter Construction Inc.                                Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Tad Carpenter                                          When was the debt incurred?
          301 Steppes Ct
          Weatherford, TX 76087
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Former S-Corp of Ex-Partner


 4.2
 4        Centurylink                                                Last 4 digits of account number       2244                                               $198.00
          Nonpriority Creditor's Name
          PO Box 4300                                                When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services Purchased




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 4.2
 5        Chase                                                      Last 4 digits of account number       8321                                           $33,880.00
          Nonpriority Creditor's Name
          PO Box 15298                                               When was the debt incurred?
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card Purchases


 4.2
 6        Chev's Trucking                                            Last 4 digits of account number                                                        $1,966.00
          Nonpriority Creditor's Name
          650 Ford Ln                                                When was the debt incurred?
          Lowell, AR 72745
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Services Provided for Carpenter
              Yes                                                       Other. Specify   Construction


 4.2
 7        Chexsystems                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Attn: Consumer Relations                                   When was the debt incurred?
          7805 Hudson Rd, Ste 100
          Saint Paul, MN 55125
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only




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 Debtor 2 Ladonna F Matlock                                                                               Case number (if know)         5:17-bk-73105

 4.2
 8        Citi Cards                                                 Last 4 digits of account number       5541                                             $8,900.00
          Nonpriority Creditor's Name
          PO Box 6500                                                When was the debt incurred?
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card Purchases


 4.2
 9        Citibank                                                   Last 4 digits of account number                                                          $357.00
          Nonpriority Creditor's Name
          PO Box 6500                                                When was the debt incurred?
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unknown


 4.3
 0        CME Oil & Gas                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Carpenter Construction                                 When was the debt incurred?
          301 Steppes Ct
          Weatherford, TX 76087
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Former Partnership - 50% Owned




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 Debtor 2 Ladonna F Matlock                                                                               Case number (if know)         5:17-bk-73105

 4.3
 1        CME Quality Homes                                          Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Carpenter Construction                                 When was the debt incurred?
          301 Steppes Ct
          Weatherford, TX 76087
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Former Partnership - 50% Owned


 4.3
 2        Collins Custom Cabinets                                    Last 4 digits of account number                                                        $6,600.00
          Nonpriority Creditor's Name
          515 N Old Wire Rd                                          When was the debt incurred?
          Lowell, AR 72745
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Former Vendor for CME Quality Homes


 4.3
 3        Cox Communications                                         Last 4 digits of account number       7301                                                 $80.00
          Nonpriority Creditor's Name
          6305 Peachtree Dunwoody Rd NE                              When was the debt incurred?
          Atlanta, GA 30328
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services Purchased




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 4.3
 4        Danbury Mint                                               Last 4 digits of account number       6664                                                 $26.00
          Nonpriority Creditor's Name
          47 Richards Ave                                            When was the debt incurred?
          Norwalk, CT 06857
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unknown


 4.3
 5        Discover Bank                                              Last 4 digits of account number       1629                                           $23,065.00
          Nonpriority Creditor's Name
          PO Box 30943                                               When was the debt incurred?
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card Purchases


 4.3
 6        Dunton & Assoc (now Abacus)                                Last 4 digits of account number                                                      $35,522.00
          Nonpriority Creditor's Name
          1835 E Republic Rd, Ste 200                                When was the debt incurred?
          Springfield, MO 65804
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services Provided for CME Quality Homes




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 4.3
 7        Dunton & Assoc (now Abacus)                                Last 4 digits of account number                                                        $2,225.00
          Nonpriority Creditor's Name
          1835 E Republic Rd, Ste 200                                When was the debt incurred?
          Springfield, MO 65804
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services Provided for CME Oil & Gas


 4.3
 8        Dunton & Assoc (now Abacus)                                Last 4 digits of account number                                                      $10,770.00
          Nonpriority Creditor's Name
          1835 E Republic Rd, Ste 200                                When was the debt incurred?
          Springfield, MO 65804
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services Provided for Meadowbrook Dev.


 4.3
 9        Equifax                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 9701                                                When was the debt incurred?
          Allen, TX 75013
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only




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 4.4
 0        Ernest & Margaret Downum                                   Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          6791 E Downum Rd                                           When was the debt incurred?
          Springdale, AR 72762
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Real Estate Deficiency


 4.4
 1        Experian                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 4500                                                When was the debt incurred?
          Allen, TX 75013
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.4
 2        First National Bank of Rogers                              Last 4 digits of account number                                                    $1,309,921.00
          Nonpriority Creditor's Name
          3706 Pinnacle Hills Pkwy                                   When was the debt incurred?
          Rogers, AR 72758
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Real Estate Deficiency




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 4.4
 3        First National Bank of Rogers                              Last 4 digits of account number                                                     $228,090.00
          Nonpriority Creditor's Name
          3706 Pinnacle Hills Pkwy                                   When was the debt incurred?
          Rogers, AR 72758
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Real Estate Deficiency


 4.4
 4        Foster's Roofing                                           Last 4 digits of account number                                                        $2,834.00
          Nonpriority Creditor's Name
          3375 Wagon Wheel Rd                                        When was the debt incurred?
          Springdale, AR 72762
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Services Provided for Carpenter
              Yes                                                       Other. Specify   Construction


 4.4
 5        GE Money Bank (American Eagle)                             Last 4 digits of account number       7601                                             $3,833.00
          Nonpriority Creditor's Name
          Bankruptcy Dept                                            When was the debt incurred?
          PO Box 103104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Merchandise Purchased




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 4.4
 6        GE Money Bank (Care Credit)                                Last 4 digits of account number       2813                                             $3,106.00
          Nonpriority Creditor's Name
          PO Box 981127                                              When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.4
 7        GE Money Bank (Sams)                                       Last 4 digits of account number       4191                                               $839.00
          Nonpriority Creditor's Name
          PO Box 981064                                              When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Merchandise Purchased


 4.4
 8        John & Yvonne Carpenter                                    Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          1595 W County Line Rd                                      When was the debt incurred?
          Springdale, AR 72762
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Parents of Former Ex-Partner/Investors




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 4.4
 9        Kimbel Plumbing                                            Last 4 digits of account number                                                      $12,322.00
          Nonpriority Creditor's Name
          9310 E Wagon Wheel Rd                                      When was the debt incurred?
          Springdale, AR 72762
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Services Provided for Carpenter
              Yes                                                       Other. Specify   Construction


 4.5
 0        Kohls                                                      Last 4 digits of account number       3639                                                 $60.00
          Nonpriority Creditor's Name
          PO Box 3043                                                When was the debt incurred?
          Milwaukee, WI 53201
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Merchandise Purchased


 4.5
 1        Liberty Bank of Arkansas                                   Last 4 digits of account number                                                     $179,575.00
          Nonpriority Creditor's Name
          c/o Jay Williams                                           When was the debt incurred?
          100 W Main St
          Gentry, AR 72734
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Real Estate Deficiency




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 4.5
 2        Liberty Bank of Arkansas                                   Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Jay Williams                                           When was the debt incurred?
          100 W Main St
          Gentry, AR 72734
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Real Estate Deficiency


 4.5
 3        Liberty Bank of Arkansas                                   Last 4 digits of account number       3122                                          $111,396.00
          Nonpriority Creditor's Name
          c/o Williams Law Firm                                      When was the debt incurred?
          100 W Main St
          Gentry, AR 72734
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Continuing Guarantee Agreements


 4.5
 4        Meadowbrook Dev LLC                                        Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Carpenter Construction                                 When was the debt incurred?
          301 Steppes Ct
          Weatherford, TX 76087
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Former Partnership - 50% Owned




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 Debtor 2 Ladonna F Matlock                                                                               Case number (if know)         5:17-bk-73105

 4.5
 5        National Home Centers                                      Last 4 digits of account number                                                      $23,913.00
          Nonpriority Creditor's Name
          c/o Donnie Rutledge                                        When was the debt incurred?
          Lisle law Firm
          1458 Plaza Pl, Ste 101
          Springdale, AR 72764
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Real Estate Deficiency


 4.5
 6        Pinnacle Finance                                           Last 4 digits of account number       3707                                           $36,425.00
          Nonpriority Creditor's Name
          c/o Hood & Stacy, P.A.                                     When was the debt incurred?
          216 N Main St
          Bentonville, AR 72712
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unknown


 4.5
 7        Proactiv Solution                                          Last 4 digits of account number       3571                                                 $46.00
          Nonpriority Creditor's Name
          PO Box 361448                                              When was the debt incurred?
          Des Moines, IA 50336
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services




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 4.5
 8        Sears                                                      Last 4 digits of account number       5448                                               $500.00
          Nonpriority Creditor's Name
          PO Box 6282                                                When was the debt incurred?
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Merchandise Purchased


 4.5
 9        Shiloh Christian School                                    Last 4 digits of account number                                                      $33,094.00
          Nonpriority Creditor's Name
          1707 Johnson Rd                                            When was the debt incurred?
          Springdale, AR 72762
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Education Expenses


 4.6
 0        Synchrony Bank (Sams)                                      Last 4 digits of account number       2209                                             $2,500.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                      When was the debt incurred?
          PO Box 965060
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Merchandise Purchased




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 4.6
 1        Tad & Tracy Carpenter                                      Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          301 Steppes Ct                                             When was the debt incurred?
          Weatherford, TX 76087
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Former Business Partner


 4.6
 2        TADS Tuition Aid Data Services                             Last 4 digits of account number       1838                                                 $63.00
          Nonpriority Creditor's Name
          800 Washington Ave N, Ste 671                              When was the debt incurred?
          Minneapolis, MN 55401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Education Expenses


 4.6
 3        Trans Union                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 2000                                                When was the debt incurred?
          Chester, PA 19022
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only




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 4.6
 4        Two State Sod                                              Last 4 digits of account number                                                        $1,695.00
          Nonpriority Creditor's Name
          16153 US Hwy 271                                           When was the debt incurred?
          Spiro, OK 74959
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Services Provided for Carpenter
              Yes                                                       Other. Specify   Construction


 4.6
 5        University of Arkansas                                     Last 4 digits of account number       0770                                             $1,205.00
          Nonpriority Creditor's Name
          Treasurer's Office                                         When was the debt incurred?
          214 Arkansas Union
          Fayetteville, AR 72701
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Education Expenses


 4.6
 6        Verizon Wireless                                           Last 4 digits of account number       0001                                                 $75.00
          Nonpriority Creditor's Name
          1 Verizon Way                                              When was the debt incurred?
          Basking Ridge, NJ 07920
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services Purchased




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 4.6
 7         Washington Regional Medical Ct                            Last 4 digits of account number                                                                  $1,480.00
           Nonpriority Creditor's Name
           3215 N Northhills Blvd                                    When was the debt incurred?
           Fayetteville, AR 72703
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Medical Services

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AFNI                                                          Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 3517                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Bloomington, IL 61702
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Allied Interstate                                             Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3000 Corporate Exchange Dr                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 5th Floor
 Columbus, OH 43231
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 c/o Zwicker & Assoc.                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 80 Minuteman Rd
 Andover, MA 01810
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 c/o Hood & Stacy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 216 N Main St
 Bentonville, AR 72712
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Hood & Stacy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 216 N Main St
 Bentonville, AR 72712
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Zwicker & Assoc                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 80 Minuteman Rd
 Andover, MA 01810
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?


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 American Express                                              Line 4.10 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 c/o James West                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 6380 Rogerdale Rd, Ste 130
 Houston, TX 77072
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express Travel                                       Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 981540                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Amsher Collection Services                                    Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 600 Beacon Pkwy, Ste 300                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Birmingham, AL 35209
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AOL GPO                                                       Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 65101                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Sterling, VA 20165
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Apex Financial Mgmt                                           Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1120 W Lake Cook Rd, Ste A                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Buffalo Grove, IL 60089
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Associated Recovery                                           Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 469046                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Escondido, CA 92046
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America                                               Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o P. Scott Lowery P.C.                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 4500 Cherry Creek Dr S,Ste 700
 Denver, CO 80246
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America                                               Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Firsel Law Group                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1599
 Lombard, IL 60148
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of the Ozarks                                            Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Stephen Cobb                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 2457
 Little Rock, AR 72203
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cach LLC                                                      Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 5980                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Littleton, CO 80127
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cach LLC                                                      Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 5980                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Littleton, CO 80127
                                                               Last 4 digits of account number


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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cavalry Portfolio                                             Line 4.47 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 520                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Valhalla, NY 10595
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cavalry SPV II, LLC                                           Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 500 Summit Lake Dr, Ste 400                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Valhalla, NY 10595
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CBE Group                                                     Line 4.66 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1309 Technology Pkwy                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Cedar Falls, IA 50613
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Centurylink                                                   Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Robinson, Reagan et al                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 260 Cumberland Bend
 Nashville, TN 37228
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Convergent Outsourcing                                        Line 4.47 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 9004                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Renton, WA 98057
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Convergent Outsourcing                                        Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 9021                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Renton, WA 98057
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit Control                                                Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 245 E Roselawn, Ste 25                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Paul, MN 55117
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Creditors Financial Group                                     Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 440290                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Aurora, CO 80044
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover Bank                                                 Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Southern, Allen, Withrow                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 17248
 Little Rock, AR 72222
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover Bank                                                 Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Eltman, Eltman & Cooper                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 140 Broadway, 26th Floor
 New York, NY 10005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Dynamic Recovery                                              Line 4.47 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 25759                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Greenville, SC 29616
                                                               Last 4 digits of account number



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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Encore Receivables Mgmt                                       Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 3330                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Olathe, KS 66063
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Encore Receivables Mgmt                                       Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 3330                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Olathe, KS 66063
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Financial Recovery Services                                   Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 385908                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Minneapolis, MN 55438
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Financial Recovery Services                                   Line 4.47 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 385908                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Minneapolis, MN 55438
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 First Collection Services                                     Line 4.65 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 10925 Otter Creek Rd E                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Mabelvale, AR 72103
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 First National Bank of Rogers                                 Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o G. Nicholas Arnold                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 224 S 2nd St
 Rogers, AR 72756
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 First National Bank of Rogers                                 Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o G. Nicholas Arnold                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 224 S 2nd St
 Rogers, AR 72756
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GE Money Bank                                                 Line 4.47 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Stephen Lamb                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1027
 Beebe, AR 72012
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 JC Christensen & Assoc                                        Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 519                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Sauk Rapids, MN 56379
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 JC Christensen & Assoc                                        Line 4.47 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 519                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Sauk Rapids, MN 56379
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 MBI                                                           Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 47 Richards Ave                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Norwalk, CT 06857
                                                               Last 4 digits of account number



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 28 of 33
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 Debtor 1 Larry J Matlock
 Debtor 2 Ladonna F Matlock                                                                               Case number (if know)          5:17-bk-73105

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mid America Accounts                                          Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 790                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Joplin, MO 64802
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Credit Mgmt                                           Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2365 Northside Dr, Ste 300                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 San Diego, CA 92108
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 National Creditors Connection                                 Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 14 Orchard Rd, Ste 200                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Lake Forest, CA 92630
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 National Enterprise Sys                                       Line 4.47 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 29125 Solon Rd                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Solon, OH 44139
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Nationwide Credit                                             Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 2002 Summit Blvd, Ste 600                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30319
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Nationwide Credit                                             Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 2015 Vaughn Rd NW, Ste 400                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Kennesaw, GA 30144
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NCO                                                           Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4740 Baxter Rd                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Virginia Beach, VA 23462
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NCO                                                           Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 507 Prudential Rd                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Horsham, PA 19044
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NCO                                                           Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 507 Prudential Rd                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Horsham, PA 19044
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NCO                                                           Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 507 Prudential Rd                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Horsham, PA 19044
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NCO                                                           Line 4.47 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4740 Baxter Rd                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Virginia Beach, VA 23462
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NCO                                                           Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 507 Prudential Rd                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 29 of 33
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 Horsham, PA 19044
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Northland Group                                               Line 4.47 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 390846                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Minneapolis, MN 55439
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Northstar Location Svcs                                       Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4285 Genesee St                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Buffalo, NY 14225
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Paragon Way                                                   Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Allied Interstate                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 3000 Corporate Exchange Dr
 5th Floor
 Columbus, OH 43231
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pinnacle Finance                                              Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Hood & Stacy, P.A.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 216 N Main St
 Bentonville, AR 72712
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pinnacle Finance                                              Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Hood & Stacy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 216 N Main
 Bentonville, AR 72712
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Precision Recovery                                            Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o National Enterprise Sys                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 29125 Solon Rd
 Solon, OH 44139
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Precision Recovery                                            Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o The McHughes Law Firm                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 2180
 Little Rock, AR 72201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Redline Recovery                                              Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 11675 Rainwater Dr, Ste 350                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Alpharetta, GA 30009
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Redline Recovery                                              Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 11675 Rainwater Dr, Ste 350                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Alpharetta, GA 30009
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Resurgent Capital                                             Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 19034                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Greenville, SC 29602
                                                               Last 4 digits of account number


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 30 of 33
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 Debtor 1 Larry J Matlock
 Debtor 2 Ladonna F Matlock                                                                                 Case number (if know)        5:17-bk-73105

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sentry Credit                                                 Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2809 Grand Ave                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Everett, WA 98201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Southern Collection                                           Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 25006                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Little Rock, AR 72221
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Southwest Credit                                              Line 4.66 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4120 International Pkwy                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Ste 1100
 Carrollton, TX 75007
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Stellar Recovery                                              Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 48370                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Jacksonville, FL 32247
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Stellar Recovery Inc                                          Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1327 Highway 2 W                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Ste 100
 Kalispell, MT 59901
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Stoneleigh Recovery                                           Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1479                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Lombard, IL 60148
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Tate & Kirlin Assoc                                           Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2810 Southampton Rd                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Philadelphia, PA 19154
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 United Recovery Systems                                       Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5800 N Course Dr                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77072
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Universal Fidelity                                            Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 941911                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77094
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Vantage Sourcing                                              Line 4.66 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 328 Ross Clark Circle                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Dothan, AL 36303
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Vision Financial                                              Line 4.47 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 800                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Purchase, NY 10577
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 31 of 33
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 Debtor 2 Ladonna F Matlock                                                                               Case number (if know)          5:17-bk-73105

 Vision Financial Corp                                         Line 4.45 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 PO Box 460260                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Louis, MO 63146
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Washington County Circuit Cour                                Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 CV10-1690-2                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 280 N College, Ste 302
 Fayetteville, AR 72701
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Washington County Circuit Cour                                Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 CV 12-961-2/CV-11-370-7                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 280 N College, Ste 302
 Fayetteville, AR 72701
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Washington County Circuit Cour                                Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 CV-2009-707-6                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 280 N College, Ste 302
 Fayetteville, AR 72701
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Washington County Circuit Cour                                Line 4.53 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 CIV-2009-1987-2                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 280 N College, Ste 302
 Fayetteville, AR 72701
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Washington County Circuit Cour                                Line 4.56 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 CV-11-370-7                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 280 N College, Ste 302
 Fayetteville, AR 72701
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Washington Regional Legal Coll                                Line 4.67 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1887                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Fayetteville, AR 72702
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                  213,131.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                  213,131.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 32 of 33
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                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                              here.                                                                            $             2,266,231.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                             6j.      $             2,266,231.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 33 of 33
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 Fill in this information to identify your case:

 Debtor 1                  Larry J Matlock
                           First Name                         Middle Name            Last Name

 Debtor 2                  Ladonna F Matlock
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               WESTERN DISTRICT OF ARKANSAS

 Case number           5:17-bk-73105
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Ozarks Go                                                                  Internet/TV Contract, Expiration Dec 2018
               3641 W Weddington Dr
               Fayetteville, AR 72704




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Larry J Matlock
                            First Name                           Middle Name       Last Name

 Debtor 2                   Ladonna F Matlock
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 WESTERN DISTRICT OF ARKANSAS

 Case number            5:17-bk-73105
 (if known)
                                                                                                                              Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                     Check all schedules that apply:


    3.1         Affiliated Investors Inc.                                                            Schedule D, line
                1225 E Lake Road                                                                     Schedule E/F, line 4.2
                Springdale, AR 72762
                                                                                                     Schedule G
                                                                                                   Abacus CPAs (fka Dunton)



    3.2         Affiliated Investors Inc.                                                            Schedule D, line
                1225 E Lake Road                                                                     Schedule E/F, line 4.3
                Springdale, AR 72762
                                                                                                     Schedule G
                                                                                                   Abacus CPAs (fka Dunton)



    3.3         Affiliated Investors Inc.                                                             Schedule D, line
                1225 E Lake Road                                                                      Schedule E/F, line   4.42
                Springdale, AR 72762
                                                                                                      Schedule G
                                                                                                   First National Bank of Rogers




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 4
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              Larry J Matlock
 Debtor 1 Ladonna F Matlock                                                         Case number (if known)   5:17-bk-73105


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.4      Affiliated Investors Inc.                                                      Schedule D, line
             1225 E Lake Road                                                               Schedule E/F, line   4.43
             Springdale, AR 72762
                                                                                            Schedule G
                                                                                         First National Bank of Rogers



    3.5      Affiliated Investors Inc.                                                      Schedule D, line
             1225 E Lake Road                                                               Schedule E/F, line 4.51
             Springdale, AR 72762
                                                                                            Schedule G
                                                                                         Liberty Bank of Arkansas



    3.6      Affiliated Investors Inc.                                                      Schedule D, line
             1225 E Lake Road                                                               Schedule E/F, line 4.52
             Springdale, AR 72762
                                                                                            Schedule G
                                                                                         Liberty Bank of Arkansas



    3.7      Affiliated Investors Inc.                                                      Schedule D, line
             1225 E Lake Road                                                               Schedule E/F, line 4.53
             Springdale, AR 72762
                                                                                            Schedule G
                                                                                         Liberty Bank of Arkansas



    3.8      Affiliated Investors Inc.                                                     Schedule D, line
             1225 E Lake Road                                                              Schedule E/F, line  4.55
             Springdale, AR 72762
                                                                                           Schedule G
                                                                                         National Home Centers



    3.9      CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line 4.4
                                                                                           Schedule G
                                                                                         Advance Pest Control



    3.10     CME Quality Homes, LLC                                                         Schedule D, line
             no address; out of business                                                    Schedule E/F, line     4.6
                                                                                            Schedule G
                                                                                         Air Control Corp




Official Form 106H                                                   Schedule H: Your Codebtors                                  Page 2 of 4
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              Larry J Matlock
 Debtor 1 Ladonna F Matlock                                                         Case number (if known)   5:17-bk-73105


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.11     CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line      4.7
                                                                                           Schedule G
                                                                                         AJ Discount Storage



    3.12     CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line      4.12
                                                                                           Schedule G
                                                                                         APAC Arkansas



    3.13     CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line      4.13
                                                                                           Schedule G
                                                                                         APAC Arkansas



    3.14     CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line      4.14
                                                                                           Schedule G
                                                                                         Arkansas Insulation



    3.15     CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line      4.18
                                                                                           Schedule G
                                                                                         Bank of America



    3.16     CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line      4.20
                                                                                           Schedule G
                                                                                         Boral Bricks



    3.17     CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line      4.21
                                                                                           Schedule G
                                                                                         Bradco Supply



    3.18     CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line      4.26
                                                                                           Schedule G
                                                                                         Chev's Trucking




Official Form 106H                                                   Schedule H: Your Codebtors                                  Page 3 of 4
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              Larry J Matlock
 Debtor 1 Ladonna F Matlock                                                         Case number (if known)   5:17-bk-73105


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.19     CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line 4.32
                                                                                           Schedule G
                                                                                         Collins Custom Cabinets



    3.20     CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line 4.36
                                                                                           Schedule G
                                                                                         Dunton & Assoc (now Abacus)



    3.21     CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line 4.37
                                                                                           Schedule G
                                                                                         Dunton & Assoc (now Abacus)



    3.22     CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line 4.38
                                                                                           Schedule G
                                                                                         Dunton & Assoc (now Abacus)



    3.23     CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line      4.44
                                                                                           Schedule G
                                                                                         Foster's Roofing



    3.24     CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line      4.49
                                                                                           Schedule G
                                                                                         Kimbel Plumbing



    3.25     CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line  4.55
                                                                                           Schedule G
                                                                                         National Home Centers



    3.26     CME Quality Homes, LLC                                                        Schedule D, line
             no address; out of business                                                   Schedule E/F, line      4.64
                                                                                           Schedule G
                                                                                         Two State Sod




Official Form 106H                                                   Schedule H: Your Codebtors                                  Page 4 of 4
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Fill in this information to identify your case:

Debtor 1                      Larry J Matlock

Debtor 2                      Ladonna F Matlock
(Spouse, if filing)

United States Bankruptcy Court for the:       WESTERN DISTRICT OF ARKANSAS

Case number               5:17-bk-73105                                                                  Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status*
       information about additional                                   Not employed                                 Not employed
       employers.
                                             Occupation            Real Estate Broker                           Cafeteria Worker
       Include part-time, seasonal, or
       self-employed work.                                                                                      Shiloh Christian School/Cross
                                             Employer's name                                                    Church
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                                                                1707 Johnson Rd
                                                                                                                Springdale, AR 72762

                                             How long employed there?                                                    Aug 2002 - Present
                                                                              *See Attachment for Additional Employment Information

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $         2,391.00

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $   2,391.00




Official Form 106I                                                      Schedule I: Your Income                                                   page 1
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Debtor 1    Larry J Matlock
Debtor 2    Ladonna F Matlock                                                                     Case number (if known)    5:17-bk-73105


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $         2,391.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $           229.00
      5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $             0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $             0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $             0.00
      5e.   Insurance                                                                      5e.        $              0.00     $             0.00
      5f.   Domestic support obligations                                                   5f.        $              0.00     $             0.00
      5g.   Union dues                                                                     5g.        $              0.00     $             0.00
      5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $             0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $           229.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $        2,162.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00     $                0.00
      8e. Social Security                                                                  8e.        $              0.00     $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.        $              0.00     $                0.00
      8g. Pension or retirement income                                                     8g.        $              0.00     $                0.00
                                               household contribution from adult
      8h.   Other monthly income. Specify:     children                          8h.+ $                        400.00 + $                      0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            400.00         $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $               400.00 + $          2,162.00 = $            2,562.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.    $           2,562.00
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtor 1 hopes to find employment; Debtor 2 only works during school year.




Official Form 106I                                                     Schedule I: Your Income                                                          page 2
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Debtor 1   Larry J Matlock
Debtor 2   Ladonna F Matlock                                                 Case number (if known)   5:17-bk-73105



                                               Official Form B 6I
                               Attachment for Additional Employment Information

Spouse
Occupation            Cafeteria Worker
Name of Employer      Cross Church
How long employed     Aug 2008 - Present
Address of Employer   1709 Johnson Rd
                      Springdale, AR 72762




Official Form 106I                                 Schedule I: Your Income                                            page 3
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Fill in this information to identify your case:

Debtor 1                 Larry J Matlock                                                                   Check if this is:
                                                                                                               An amended filing
Debtor 2                 Ladonna F Matlock                                                                           A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   WESTERN DISTRICT OF ARKANSAS                                               MM / DD / YYYY

Case number           5:17-bk-73105
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             20                   Yes
                                                                                                                                             No
                                                                                   Son                                  23                   Yes
                                                                                                                                             No
                                                                                   Son                                  25                   Yes
                                                                                                                                             No
                                                                                   Daughter                             28                   Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,655.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                               1.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                               0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                               0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             539.00



Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
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Debtor 1     Larry J Matlock
Debtor 2     Ladonna F Matlock                                                                         Case number (if known)      5:17-bk-73105

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 262.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  36.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 347.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                500.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 50.00
10.   Personal care products and services                                                    10. $                                                  25.00
11.   Medical and dental expenses                                                            11. $                                                  25.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 150.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  10.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                   13.00
      15c. Vehicle insurance                                                               15c. $                                                  161.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal Property Taxes                                                       16. $                                                  29.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  284.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                  311.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Petcare                                                             21. +$                                                 29.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       4,427.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       4,427.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,562.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,427.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -1,865.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    Larry J Matlock
                             First Name                     Middle Name             Last Name

 Debtor 2                    Ladonna F Matlock
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF ARKANSAS

 Case number              5:17-bk-73105
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Larry J Matlock                                                       X   /s/ Ladonna F Matlock
              Larry J Matlock                                                           Ladonna F Matlock
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       January 2, 2018                                                Date    January 2, 2018




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Larry J Matlock
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Ladonna F Matlock
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF ARKANSAS

 Case number           5:17-bk-73105
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $15,252.00            Wages, commissions,                $20,966.00
 the date you filed for bankruptcy:
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
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 Debtor 1      Larry J Matlock
 Debtor 2      Ladonna F Matlock                                                                           Case number (if known)   5:17-bk-73105

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                              Wages, commissions,                       $22,061.00            Wages, commissions,              $23,177.00
 (January 1 to December 31, 2016 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                       $43,968.00            Wages, commissions,              $20,445.00
 (January 1 to December 31, 2015 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Insurance Settlement                                        $1,278.00
 the date you filed for bankruptcy:   - Hail Damage

 For last calendar year:                           Insurance Settlement                         $12,040.00
 (January 1 to December 31, 2016 )                 -2012 Honda


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 1      Larry J Matlock
 Debtor 2      Ladonna F Matlock                                                                           Case number (if known)   5:17-bk-73105

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       CAVALRY SPV II LLC; PRECISION                             collection lawsuit         Washington County Circuit                  Pending
       RECOVERY ANALYTICS, INC. AS                                                          Cour                                       On appeal
       ASSIGNEE OF GE MONEY                                                                 280 N College, Ste 302
                                                                                                                                       Concluded
       BANK/AMERICAN EAGLE DUAL                                                             Fayetteville, AR 72701
       CARD VS. LADONNA MATLOCK
       CV 12-961-2

       LIBERTY BANK OF ARKANSAS                                  commercial                 Washington County Circuit                  Pending
       VS. CME QUALITY HOMES LLC;                                lawsuit                    Cour                                       On appeal
       LARRY MATLOCK; DONNA                                                                 280 N College, Ste 302
                                                                                                                                       Concluded
       MATLOCK; CARPENTER                                                                   Fayetteville, AR 72701
       CONSTRUCTION INC; AFFILIATED
       INVESTORS INC; TAD
       CARPENTER; and TRACY
       CARPENTER
       CIV-2009-1987-2

       PINNACLE FINANCE INC. V.                                  Collection lawsuit         Washington County Circuit                  Pending
       LARRY MATLOCK                                                                        Cour                                       On appeal
       CV-11-370-7                                                                          280 N College, Ste 302
                                                                                                                                       Concluded
                                                                                            Fayetteville, AR 72701

       DISCOVER BANK V. LARRY J                                  collection lawsuit         Washington County Circuit                  Pending
       MATLOCK & DONNA F MATLOCK                                                            Cour                                       On appeal
       CV10-1690-2                                                                          280 N College, Ste 302
                                                                                                                                       Concluded
                                                                                            Fayetteville, AR 72701




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 Debtor 1      Larry J Matlock
 Debtor 2      Ladonna F Matlock                                                                           Case number (if known)    5:17-bk-73105

       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       FIRST NATIONAL BANK OF                                    commercial civil           Washington County Circuit                     Pending
       ROGERS, A DIVISION OF THE                                 suit                       Cour                                          On appeal
       FIRST NATIONAL BANK OF FORT                                                          280 N College, Ste 302
                                                                                                                                          Concluded
       SMITH f/k/a BANK OF ROGERS VS.                                                       Fayetteville, AR 72701
       CME QUALITY HOMES LLC,
       CARPENTER CONSTRUCTION
       INC; AFFILIATED INVESTORS INC;
       TAD L CARPENTER; LARRY J
       MATLOCK; TRACY CARPENTER;
       DONNA MATLOCK; NATIONAL
       HOME CENTERS INC
       CV-2009-707-6

       LIBERTY BANK OF ARKANSAS,                                 Commercial                 Benton County Circuit                         Pending
       P.A, v. Larry Matlock and Ladonna                         collection lawsuit         Court                                         On appeal
       Matlock                                                                                                                            Concluded
       04CV-09-1840

       FIRST NATIONAL BANK OF                                    Commercial                 Benton County Circuit                         Pending
       ROGERS v. Larry Matlock and                               collection                 Court                                         On appeal
       Ladonna Matlock                                           lawsuits
                                                                                                                                          Concluded
       04CV-09-708


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened
       Discover Bank                                             Ongoing Payroll Garnishment                                  8/15/17 -                    $1,442.00
       PO Box 30943                                                                                                           Present
       Salt Lake City, UT 84130                                      Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.

       GE Money Bank (American Eagle)                            Bank Account Garnishment                                     April 2017                       $33.00
       Bankruptcy Dept
       PO Box 103104                                                 Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                 Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes
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 Debtor 2      Ladonna F Matlock                                                                           Case number (if known)    5:17-bk-73105


 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.
       Hail Damage to 2013 Hyundai                          State Farm paid the claim - $1277.72                              4/29/17                     $1,278.00
       Santa Fe

       Hail Damage to Roof                                  Claim not yet filed; whether the damage was                       4/29/17                     Unknown
                                                            due to storm or other causes, not yet
                                                            determined


 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Hertzberg Law Firm of Arkansas, P.A.                          Attorney Fees                                            12/13/17                    $1,800.00
       4285 N. Shiloh Dr.,
       Suite 108
       Fayetteville, AR 72703
       toddhertzberg@yahoo.com


       Moneysharp Credit Counseling                                                                                           12/2/17                         $10.00
       1916 N Fairfield Ave, Ste 200
       Chicago, IL 60647




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17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Frank Fletcher Honda                                          Traded 2012 Honda Accord.                  Net trade in amount:            11/14/17
       2921 Moberly Ln                                               $8000                                      $7375
       Bentonville, AR 72712

       unrelated commercial dealer

       Matthew Matlock                                               2016 Honda Civic $19,500.                  Paid $19,532.95 of              Dec 11, 2017
       1225 E Lake Rd                                                                                           Debtor's secured debt
       Springdale, AR 72762                                                                                     on the vehicle through
                                                                                                                new financing of
       Son                                                                                                      substantially the same
                                                                                                                amount removing
                                                                                                                Debtor's liability.


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred
       Arvest Bank                                               XXXX-8273                    Checking                  4/27/17                                 $0.00
       PO Box 1670                                                                            Savings
       Lowell, AR 72745
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other




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       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was            Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,           before closing or
       Code)                                                                                                            moved, or                        transfer
                                                                                                                        transferred
       Arvest Bank                                               XXXX-8383                        Checking              4/27/17                                 $0.00
       PO Box 1670                                                                                Savings
       Lowell, AR 72745
                                                                                                  Money Market
                                                                                                  Brokerage
                                                                                                  Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                              have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                      have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                               Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Amy Matlock                                                   Debtor's residence                     All furniture and household                   Unknown
       1225 E Lake Road                                                                                     goods from a 2 bedroom
       Springdale, AR 72762                                                                                 apartment belonging to Amy
                                                                                                            before she moved back home.
                                                                                                            Most of the items are in the
                                                                                                            garage and her bedroom.
                                                                                                            Electronic keyboard

       Joshua Matlock                                                Debtor's residence                     Bedroom furniture, bookcase,                  Unknown
       1225 E Lake Road                                                                                     computer, desk, tuba, riding
       Springdale, AR 72762                                                                                 lawn mower

       Matthew Matlock                                               Debtor's Residence                     Bedroom furniture, trombone                   Unknown
       1225 E Lake Road
       Springdale, AR 72762

       Emily Matlock                                                 Debtor's residence                     Bedroom furniture                             Unknown
       1225 E. Lake Road
       Springdale, AR 72762

       Bill Matlock                                                  Debtor's residence                     Power washer; misc. tools                     Unknown
       Millstone Court
       Branson, MO 65616

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 Debtor 2      Ladonna F Matlock                                                                                Case number (if known)   5:17-bk-73105


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you          Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you          Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                    Status of the
       Case Number                                                   Name                                                                             case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       Arkansas Rebate Realty                                    tradename or name change for                        EIN:       XX-XXXXXXX
       f/k/a Matlock Real Estate Services                        Matlock Real Estate Services LLC
       LLC                                                                                                           From-To    11/26/90 - 12/31/17
       1225 E Lake Rd
       Springdale, AR 72762

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        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Affiliated Investors Inc.                                Real Estate Investments; in the                 EIN:         XX-XXXXXXX
        1225 E Lake Rd                                           process of dissolving
        Springdale, AR 72762                                                                                     From-To      11/26/90 - 12/31/17 (inactive)


        Matlock Real Estate Services LLC                         Real Estate Services; in the                    EIN:         XX-XXXXXXX
        subsidiary of Affiliated Investors                       process of dissolving
        1225 E Lake Rd                                                                                           From-To      11/26/90 - 12/31/17 (inactive)
        Springdale, AR 72762


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Larry J Matlock                                                     /s/ Ladonna F Matlock
 Larry J Matlock                                                         Ladonna F Matlock
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date      January 2, 2018                                               Date     January 2, 2018

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:

 Debtor 1                     Larry J Matlock
                              First Name                    Middle Name              Last Name

 Debtor 2                     Ladonna F Matlock
 (Spouse if, filing)          First Name                    Middle Name              Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF ARKANSAS

 Case number            5:17-bk-73105
 (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Ally                                                 Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 2013 Hyundai Santa Fe 58,133                             Reaffirmation Agreement.
    property       miles                                                    Retain the property and [explain]:
    securing debt: VIN: 5XYZU3LB0DG003572
                   (hail damage)
                   Location: 1225 E Lake Rd,
                   Springdale AR 72762


    Creditor's         American Honda Finance Corp                          Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 2017 Honda Accord 309 miles                              Reaffirmation Agreement.
    property       VIN: 1HGCR2F36HA280997                                   Retain the property and [explain]:
    securing debt: Location: 1225 E Lake Rd,
                   Springdale AR 72762


    Creditor's         Bank of America                                      Surrender the property.                     No



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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    name:                                                                    Retain the property and redeem it.                         Yes

                                                                            Retain the property and enter into a
    Description of 1225 E Lake Rd Springdale, AR                            Reaffirmation Agreement.
    property       72762 Washington County                                  Retain the property and [explain]:
    securing debt: Homestead: Tract A: A part of
                   the SW 1/4 of the SE 1/4 of
                   Section 30, Township 18N,
                   Range 30W, . . .containing 1.00
                   acres, more or less, Elm
                   Springs, Washington
                   County,Arkansas


    Creditor's     Mr. Cooper/Nationstar                                    Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of 1225 E Lake Rd Springdale, AR                            Reaffirmation Agreement.
    property       72762 Washington County                                  Retain the property and [explain]:
    securing debt: Homestead: Tract A: A part of
                   the SW 1/4 of the SE 1/4 of
                   Section 30, Township 18N,
                   Range 30W, . . .containing 1.00
                   acres, more or less, Elm
                   Springs, Washington
                   County,Arkansas

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes


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 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Larry J Matlock                                                          X /s/ Ladonna F Matlock
       Larry J Matlock                                                                 Ladonna F Matlock
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        January 2, 2018                                                  Date    January 2, 2018




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                    page 3

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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Larry J Matlock
 Debtor 2              Ladonna F Matlock                                                                   1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            Western District of Arkansas
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number           5:17-bk-73105
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.

                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony     and maintenance   payments.   Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
        Gross receipts (before all deductions)                       $
        Ordinary and necessary operating expenses                    -$
        Net monthly income from a business,                                                   Copy
        profession, or farm                                          $                        here -> $                           $
  6. Net income from rental and other real property
                                                                                   Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                         -$
        Net monthly income from rental or other real property             $            Copy here -> $                             $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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 Debtor 1     Larry J Matlock
 Debtor 2     Ladonna F Matlock                                                                         Case number (if known)   5:17-bk-73105


                                                                                                    Column A                     Column B
                                                                                                    Debtor 1                     Debtor 2 or
                                                                                                                                 non-filing spouse
  8. Unemployment compensation                                                           $                                       $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                        $                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                      $                            $
                                                                                                    $                            $
                  Total amounts from separate pages, if any.                                    +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.               $                        +   $                   =   $

                                                                                                                                                 Total current monthly
                                                                                                                                                 income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>            $


              Multiply by 12 (the number of months in a year)                                                                                        x 12
       12b. The result is your annual income for this part of the form                                                                 12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                          13.   $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Larry J Matlock                                                    X /s/ Ladonna F Matlock
                Larry J Matlock                                                           Ladonna F Matlock
                Signature of Debtor 1                                                     Signature of Debtor 2
        Date January 2, 2018                                                       Date January 2, 2018
             MM / DD / YYYY                                                             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 2
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 Fill in this information to identify your case:

 Debtor 1            Larry J Matlock

 Debtor 2           Ladonna F Matlock
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Western District of Arkansas

 Case number         5:17-bk-73105                                                                 Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                      12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.     Go to line 3.
                  Yes.    Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                          submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.     Complete Form 122A-1. Do not submit this supplement.
                  Yes.    Check any one of the following categories that applies:
                                                                                             If you checked one of the categories to the left, go to Form
                          I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                          90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                             submit this supplement with the signed Form 122A-1. You
                          I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                          90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                          which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                             homeland defense activity, and for 540 days afterward. 11
                          I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                          I performed a homeland defense activity for at least 90 days,
                          ending on                  , which is fewer than 540 days before I    If your exclusion period ends before your case is closed,
                                                                                                you may have to file an amended form later.
                          file this bankruptcy case.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                  page 1
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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Larry J Matlock
 Debtor 2              Ladonna F Matlock                                                                   1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            Western District of Arkansas
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number           5:17-bk-73105
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.

                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony     and maintenance   payments.   Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
        Gross receipts (before all deductions)                       $
        Ordinary and necessary operating expenses                    -$
        Net monthly income from a business,                                                   Copy
        profession, or farm                                          $                        here -> $                           $
  6. Net income from rental and other real property
                                                                                   Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                         -$
        Net monthly income from rental or other real property             $            Copy here -> $                             $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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 Debtor 1     Larry J Matlock
 Debtor 2     Ladonna F Matlock                                                                         Case number (if known)   5:17-bk-73105


                                                                                                    Column A                     Column B
                                                                                                    Debtor 1                     Debtor 2 or
                                                                                                                                 non-filing spouse
  8. Unemployment compensation                                                           $                                       $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                        $                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                      $                            $
                                                                                                    $                            $
                  Total amounts from separate pages, if any.                                    +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.               $                        +   $                   =   $

                                                                                                                                                 Total current monthly
                                                                                                                                                 income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>            $


              Multiply by 12 (the number of months in a year)                                                                                        x 12
       12b. The result is your annual income for this part of the form                                                                 12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                          13.   $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Larry J Matlock                                                    X /s/ Ladonna F Matlock
                Larry J Matlock                                                           Ladonna F Matlock
                Signature of Debtor 1                                                     Signature of Debtor 2
        Date January 2, 2018                                                       Date January 2, 2018
             MM / DD / YYYY                                                             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 2
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 Fill in this information to identify your case:

 Debtor 1            Larry J Matlock

 Debtor 2           Ladonna F Matlock
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Western District of Arkansas

 Case number         5:17-bk-73105                                                                 Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                      12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.     Go to line 3.
                  Yes.    Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                          submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.     Complete Form 122A-1. Do not submit this supplement.
                  Yes.    Check any one of the following categories that applies:
                                                                                             If you checked one of the categories to the left, go to Form
                          I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                          90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                             submit this supplement with the signed Form 122A-1. You
                          I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                          90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                          which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                             homeland defense activity, and for 540 days afterward. 11
                          I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                          I performed a homeland defense activity for at least 90 days,
                          ending on                  , which is fewer than 540 days before I    If your exclusion period ends before your case is closed,
                                                                                                you may have to file an amended form later.
                          file this bankruptcy case.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                  page 1
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Western District of Arkansas
             Larry J Matlock
 In re       Ladonna F Matlock                                                                                Case No.      5:17-bk-73105
                                                                                 Debtor(s)                    Chapter       7

              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S) - AMENDED
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  1,800.00
             Prior to the filing of this statement I have received                                        $                  1,800.00
             Balance Due                                                                                  $                       0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 2, 2018                                                             /s/ Todd F. Hertzberg
     Date                                                                        Todd F. Hertzberg 2008268
                                                                                 Signature of Attorney
                                                                                 Hertzberg Law Firm of Arkansas, P.A.
                                                                                 4285 N. Shiloh Dr.,
                                                                                 Suite 108
                                                                                 Fayetteville, AR 72703
                                                                                 479-422-7775 Fax: 479-957-9979
                                                                                 toddhertzberg@yahoo.com
                                                                                 Name of law firm




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